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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION AT DAYTON

    UNITED STATES OF AMERICA,                            :    Case No. 3:21-CR-125
                                                         :
             Plaintiff,                                  :    District Judge Michael J. Newman
                                                         :    Magistrate Judge Peter B. Silvain, Jr.
    vs.                                                  :
                                                         :
    THEODORE SATTERWHITE,                                :
                                                         :
             Defendant.
                                                         :



                                 REPORT AND RECOMMENDATIONS1


            This case came before the Court for a plea hearing on November 30, 2021. Assistant

United States Attorney Brent Tabacchi appeared and represented the Government, and Cheryll

Bennett appeared and represented Defendant. Defendant was present with counsel.

            Prior to the hearing, the parties entered into a proposed binding plea agreement pursuant to

Fed. R. Crim. P. 11(c)(1)(C), which agreement has been filed of record. (Doc. #22). Under the

terms of the plea agreement, Defendant agreed to plead guilty as charged in the Indictment

currently pending against him, which charges him with being a felon in possession of a firearm in

violation of Title 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

            During the plea hearing, the undersigned had the opportunity to address Defendant in open

court and to inform Defendant of all rights and privileges as set forth in Fed. R. Crim. P. 11(b)(1).

Further, the undersigned carefully inquired of Defendant regarding his understanding of the

agreement, as well as his competence to understand the agreement. Having fully inquired, the

undersigned Judicial Officer finds that Defendant’s tendered plea of guilty as charged in the


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    Attached is a NOTICE to the parties regarding objections to this Report and Recommendations.
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Indictment was knowing, intelligent, and voluntary. Additionally, based upon the statement of

facts, which were read into the record and affirmed by Defendant, the undersigned finds that there

is a sufficient factual basis for finding that Defendant is in fact guilty being a felon in possession

of a firearm in violation of Title 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

       Based upon the foregoing, it is RECOMMENDED that the District Court accept

Defendant’s plea of guilty as charged in the Indictment currently pending against him and find him

guilty as charged being a felon in possession of a firearm in violation of Title 18 U.S.C. §§

922(g)(1) and 924(a)(2).

       Pending the Court’s acceptance of Defendant’s guilty plea, Defendant has been referred to

the Probation Department for a pre-sentence investigation and report.

December 1, 2021                                      s/Peter B. Silvain, Jr.
                                                      Peter B. Silvain, Jr.
                                                      United States Magistrate Judge




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                            NOTICE REGARDING OBJECTIONS

        Pursuant to Fed. R. Crim. P. 59(b)(2), any party may serve and file specific, written
objections to the proposed findings and recommendations within FOURTEEN days after being
served with this Report and Recommendations. Such objections shall specify the portions of the
Report objected to and shall be accompanied by a memorandum of law in support of the objections.
If the Report and Recommendation is based in whole or in part upon matters occurring of record
at an oral hearing, the objecting party shall promptly arrange for the transcription of the record, or
such portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless
the assigned District Judge otherwise directs. A party may respond to another party’s objections
within FOURTEEN days after being served with a copy thereof.

       Failure to make objections in accordance with this procedure may forfeit rights on appeal.
See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947, 949-50 (6th Cir.
1981).




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